Case 9:22-cv-81294-AMC Document 104 Entered on FLSD Docket 09/22/2022 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

          Plaintiff,
  v.

  UNITED STATES OF AMERICA,

          Defendant.
                                       /

                              ORDER FOLLOWING PARTIAL STAY

          THIS CAUSE comes before the Court following the Eleventh Circuit’s Order granting the

  Government’s Motion for Partial Stay Pending Appeal. See Trump v. United States, No. 22-13005

  (11th Cir. Sept. 21, 2022). The Eleventh Circuit’s Order stays the Court’s Order [ECF No. 64] to

  the extent it enjoins the Government’s use of the approximately one-hundred documents bearing

  classification markings and requires the Government to submit those documents to the Special

  Master for review. In accordance with the Eleventh Circuit’s Order, it is hereby

          ORDERED AND ADJUDGED as follows:

       1. The term “seized material” in the Court’s Order Appointing Special Master [ECF No. 91]

          is modified to include all materials seized on August 8, 2022, except the approximately

          one-hundred documents bearing classification markings [ECF No. 91 ¶ 2].

       2. Paragraph 5(b)(i)(bb) of the Order Appointing Special Master is hereby STRICKEN

          [ECF No. 91 ¶ 5].

       3. Paragraph 6 of the Order Appointing Special Master is hereby STRICKEN [ECF No. 91

          ¶ 6].
Case 9:22-cv-81294-AMC Document 104 Entered on FLSD Docket 09/22/2022 Page 2 of 2

                                                       CASE NO. 22-81294-CIV-CANNON


          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 22nd day of September

  2022.


                                                    _________________________________
                                                    AILEEN M. CANNON
                                                    UNITED STATES DISTRICT JUDGE

  cc:     counsel of record




                                             2
